Case 4:20-cv-05640-YGR   Document 1500-2   Filed 04/29/25   Page 1 of 5




                  EXHIBIT A
                  (Redacted)
               Case 4:20-cv-05640-YGR       Document 1500-2      Filed 04/29/25    Page 2 of 5



                  From: Marni Goldberg <                            >
                Subject: Re: Revised deck
           Received(Date): Tue, 19 Oct 2021 10:50:44 -0400
                     Cc: Fred Sainz <                   >
                     To: "Boutrous Jr., Theodore J." <TBoutrous@gibsondunn.com>
            Attachment: 101421 Litigation Summit Deck.key
                   Date: Tue, 19 Oct 2021 10:50:44 -0400

           Updated here. Will send these to Mark for his master deck, but will plan to present them
           myself during our talk.

           �

           Marni Goldberg


           > On Oct 18, 2021, at 8:08 PM, Boutrous Jr., Theodore J.
           <TBoutrous@gibsondunn.com> wrote:
           >
           > These look great. My only comments: delete the first “e” from “judgement” on slides 9
           and 11. Should be “judgment.”
           >
           > On slide 11 can we add in a cite to and great quote the WSJ editorial?
           >
           > Looking forward to it!
           >
           > Theodore J. Boutrous Jr.
           >
           > GIBSON DUNN
           >
           > Gibson, Dunn & Crutcher LLP
           > 333 South Grand Avenue, Los Angeles, CA 90071-3197 <x-apple-data-
           detectors://1/0>
           > Tel +1 213.229.7804 <tel:+1%20213.229.7804>
           > tboutrous@gibsondunn.com <mailto:TBoutrous@gibsondunn.com>
           >
           > www.gibsondunn.com <http://www.gibsondunn.com/>
           >
           > On Oct 18, 2021, at 2:54 PM, Marni Goldberg
                                                 > wrote:
           >
           >
           > [WARNING: External Email]
           > Fred and Ted —
           >




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               Case 4:20-cv-05640-YGR           Document 1500-2        Filed 04/29/25      Page 3 of 5



           > Attached, please find a revised deck that reflects the edits we discussed on the phone
           today. I will present the first half, and Ted will take the second half. Please feel free to
           make any other edits you see fit!
           >
           > I will work on my voice over tonight and aim to keep the first half to no more than 12ish
           minutes. Let me know if there is anything else you’d like to discuss!
           >
           > Marni
           >
           >�
           >
           > Marni Goldberg
           >
           >
           >
           >
           >
           >
           > This message may contain confidential and privileged information for the sole use of
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           without express permission is strictly prohibited. If it has been sent to you in error,
           please reply to advise the sender of the error and then immediately delete this message.
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           policy.
           > <101421 Litigation Summit Deck.key>




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           during our talk.


                                                          �

                                                   Marni Goldberg



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                  Case 4:20-cv-05640-YGR           Document 1500-2           Filed 04/29/25    Page 4 of 5



                                                    Looking forward to it!

                                                   Theodore J. Boutrous Jr.

                                                        GIBSON DUNN

                                                 Gibson, Dunn & Crutcher LLP

                                     333 South Grand Avenue, Los Angeles, CA 90071-3197

                                                     Tel +1 213.229.7804

                                                 tboutrous@gibsondunn.com


                                          www.gibsondunn.com
                    On Oct 18, 2021, at 2:54 PM, Marni Goldberg
                                                      wrote:
                                                               �
           [WARNING: External Email]



                                                       Fred and Ted —

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                                                            Marni

                                                              �

                                                       Marni Goldberg




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                Case 4:20-cv-05640-YGR   Document 1500-2       Filed 04/29/25   Page 5 of 5



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